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16
17                        UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19 JUNO THERAPEUTICS, INC.,                  Case No. 2:17-cv-7639-SJO-KS
   SLOAN KETTERING INSTITUTE
20 FOR CANCER RESEARCH,                      DEFENDANT KITE PHARMA,
                                             INC.’S OBJECTIONS TO
21              Plaintiffs,                  PLAINTIFFS’ END RUN AROUND
                                             THE COURT’S DAMAGES-
22        vs.                                RELATED DAUBERT ORDER,
                                             INCLUDING EXHIBITS AND
23 KITE PHARMA, INC.,                        TESTIMONY OF EDWARD
                                             DULAC
24              Defendant.
                                             Judge: Hon. S. James Otero
25                                           Trial: December 5, 2019
                                             Time: 8:30 am
26                                           Ctrm: 10C
27                                            PUBLIC REDACTED VERSION
     AND RELATED COUNTERCLAIMS                OF DOCUMENT PROPOSED TO
28                                            BE FILED CONDITIONALLY
                                              UNDER SEAL
         KITE’S EMERGENCY OBJECTIONS TO PLAINTIFFS’ END RUN AROUND DAMAGES ORDER
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 1 I.      INTRODUCTION
 2         Plaintiffs are attempting an end run around the Court’s December 3, 2019
 3 Order addressing damages, and, yet again, seeking to introduce new damages
 4 theories, now in the midst of trial. Now that the Court has excluded Dr. Ryan
 5 Sullivan’s proposed $900+ million upfront payment that was based on a stock swap,
 6 Plaintiffs are cobbling together a damages case that violates the Court’s Order,
 7 contradicts its own expert’s disclosed opinions, is improper under patent damages
 8 law, and intentionally invites error.
 9         Through Plaintiffs’ latest trial disclosures, and a meet-and-confer around 10
10 pm last night (see below and Ling Decl. ¶¶ 5, 6), it appears that Plaintiffs are now
11 going to rely on a fact witness, Edward Dulac (disclosed to testify today, December
12 5) to introduce an upfront payment in the hundreds of millions of dollars (e.g.,
13          ), without expert testimony to explain those numbers. They intend to
14 introduce this evidence through Mr. Dulac and at least (1) a 2015 AstraZeneca-
15 Celgene Collaboration and License Agreement (“Celgene Agreement”) (Ex. 1
16 (PX0646)) that Dr. Sullivan himself stated that this license is not appropriate for
17 determining royalty rated, including upfront payment (ECF No. 311-1 (Sullivan
18 Rep.) ¶¶ 189–90); and (2) a January 2018 Celgene modeling worksheet (“Celgene
19 Javeline Workbook”) that Dr. Sullivan used only for calculations that the Court has
20 excluded as irrelevant and confusing (ECF No. 311-1 (Sullivan Rep.) ¶¶ 266–83).
21 They then seem to intend for Dr. Sullivan to opine that an upfront payment (amount
22 unspecified) would be appropriate for the hypothetical negotiation. This approach is
23 clearly designed to invite the jury to put the two together to consider awarding
24 damages with a large upfront payment that has no expert support. This improper
25 approach would be highly misleading, cause juror confusion, and unfairly prejudice
26 Kite.
27         The Court should preclude Plaintiffs from offering Mr. Dulac, or any fact
28 witness, to testify regarding projected or actual licensing figures that neither expert
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 1 has relied upon from licenses that are sufficiently comparable to the hypothetical
 2 negotiation. It should also prevent Plaintiffs from showing the jurors such figures—
 3 including those in PX0646 and PX0693—that are not from comparable licenses.
 4 II.     ARGUMENT
 5         A.    Plaintiffs’ Latest Change in Damages Theory Relies on Irrelevant
                 Documents, and Is Untimely and Unduly Prejudicial.
 6
 7         Plaintiffs are continuing their pattern of unfairly shifting the sands on their
 8 damages theory, in an attempt to recapture the high damages figure that Dr. Sullivan
 9 proposed and that the Court largely excluded in its December 3, 2019 Order. This
10 litigation strategy has already been rejected by the Court but, unfortunately, has
11 arisen again in this matter. See ECF No. 435 (listing five instances between
12 November 12 and November 30, 2019, of Plaintiffs changing positions on issues
13 related to damages); 12/3/19 Order (rejecting all of those changes in position).
14         Plaintiffs’ disclosures in the last few days, up through around 10 pm last
15 night, lead Kite to conclude that Plaintiffs are changing their damages case in
16 reaction to the Court’s Daubert ruling in a way that violates the Court’s Order and
17 that will invite clear error if the jury were permitted to consider it. The following
18 events lead Kite to this unfortunate conclusion.
19         November 26: At the pretrial conference, the Court made comments
20 regarding concerns with Dr. Sullivan’s opinions that were the subject of Kite’s
21 motion in limine (No. 1).
22         November 30: Plaintiffs disclosed to Kite that Mr. Dulac, who was
23 previously on their “may call” list of trial witnesses, would be a “will call” witness.
24 See Ex. 4.
25         December 3 at 7 pm: Plaintiffs disclosed that they may use two trial exhibits
26 with Mr. Dulac for his direct examination: PX0646 (Celgene Agreement,
27 JUNO016812344); and PX0693 (Celgene Javelin Workbook, JUNO016590746).
28
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 1 See Ling Decl. ¶ 5. Plaintiffs did not disclose PX0646 with Dr. Sullivan’s trial
 2 exhibits for his direct examination.
 3         December 4 at 8 am: Kite immediate disclosed its objections to PX0646 and
 4 PX0693.
 5         December 4 at 6 pm: Plaintiffs disclosed their proposed demonstratives to
 6 use for Dr. Sullivan’s direct examination. See Ex. 6; Ling Decl. ¶ 6. There is no
 7 indication in these slides of any upfront payment number that Dr. Sullivan will
 8 offer. However, there is a single slide that states “Agreed License Structure: (1)
 9 Upfront payment (2) Running royalty rate” (slide 22).
10         December 4 at 6:22 pm: Counsel for Plaintiffs disclosed Mr. Dulac as a
11 witness Plaintiffs intend to call for direct examination on December 5, despite
12 failing to identify Mr. Dulac in the witness order presented to the Court at the end of
13 the December 4 trial day. Counsel for Plaintiffs subsequently identified Mr. Dulac
14 as their third witness of the day.
15         December 4 at 10 pm: Counsel for the parties held a meet-and-confer to
16 discuss, among other things, objections to Plaintiff’s proposed demonstratives for
17 Dr. Sullivan. As the proposed demonstratives seemed to indicate that, in view of the
18 Court’s December 3 Order, Dr. Sullivan would no longer be offering any upfront
19 payment figure to the jury, counsel for Kite objected to the reference on slide 22 to
20 an “Upfront payment.” Such reference would have be irrelevant, misleading,
21 confusing, and unfairly prejudicial. Kite’s counsel requested that Plaintiffs remove
22 the phrase “Upfront payment.” Opposing counsel declined to do so and implied that
23 Dr. Sullivan would still opine that an upfront payment would be appropriate. When
24 pressed to disclose what upfront payment amount Dr. Sullivan would proffer,
25 though, opposing counsel repeatedly declined to specify. Ling Decl. ¶ 6.
26         At this point it has become evident that, given Dr. Sullivan has been
27 precluded from opining on an upfront payment large enough to satisfy Plaintiffs,
28 they intend to put similarly large numbers in front of the jury through trial exhibits,
                                             -3-
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 1 including PX0646 and PX0693, and fact witness testimony. Plaintiffs would likely
 2 show the jury that the Celgene Agreement has
 3         . Ex. 1 at PX0646.81 §§ 6.1, 6.2.
 4         Such numbers have never been disclosed as coming from sufficiently
 5 comparable contexts to provide any support whatsoever to Plaintiffs’ damages
 6 figures. They are wholly irrelevant to any legitimate damages issues, and their
 7 introduction would be highly prejudicial to Kite, who has been sandbagged with the
 8 new theory.
 9         Indeed, Kite still remains in the dark as to how exactly Plaintiffs plan to use
10 PX0646, PX0693, and Mr. Dulac’s testimony at trial. Kite has already been forced
11 to dedicate substantial resources to turning away Plaintiffs’ prior iterations of new
12 damages theory leading up to the eve of trial. Trial is now underway. Instead of
13 focusing on ongoing trial preparation, Kite is again forced to request relief from the
14 Court that should not have arisen in the first place.
15         But apart from the prejudice that Plaintiffs’ new damage theory presents to
16 Kite at trial, it also circumvents the Court’s Order, is improper under the law, and
17 invites confusion and error.
18         B.    Plaintiffs Seek to Circumvent the Court’s December 3, 2019 Order
                 Regarding Damages.
19
20         The Court’s Order excluding Dr. Sullivan’s opinions provided Plaintiffs an
21 opportunity to “identify a different disclosed initial amount in Dr. Sullivan’s report,”
22 in which case “the alternative amount may be introduced with Dr. Sullivan’s
23 enhancement factors.” Order at 9 (emphasis added). This was a narrow
24 opportunity, limited to a disclosed alternative amount, which Plaintiffs have yet to
25 point to for an admissible proposed upfront payment. They cannot circumvent the
26 Court’s Order by doing an end run around with fact witness testimony and cherry-
27 picked documents to supply the alternative amount that should have been identified
28
                                               -4-
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 1 in Dr. Sullivan’s report. Plaintiffs have yet to disclose as supportable upfront
 2 payment that would comply with the Court’s Order.
 3         C.    Plaintiffs’ New Damages Approach Violates Legal Principles of
                 Patent Damages.
 4
 5         Plaintiffs cannot rely on licensing figures that do not come from comparable
 6 licenses. As the Federal Circuit has held, “in attempting to establish a reasonable
 7 royalty, the ‘licenses relied on by the patentee in proving damages [must be]
 8 sufficiently comparable to the hypothetical license at issue in suit.’” Virnetx, Inc. v.
 9 Cisco Sys., Inc., 767 F.3d 1308, 1330 (Fed. Cir. 2014) (alteration in original)
10 (quoting Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1325 (Fed. Cir.
11 2009)). Here, not only is there no evidence of comparability, Dr. Sullivan has
12 considered and expressly rejected the comparability of the Celgene Agreement.
13 Plaintiffs have never before relied on that Agreement, the Celgene Javelin
14 Workbook, or Mr. Dulac’s testimony to support damages figures in this case.
15      Mr. Dulac was Celgene’s Rule 30(b)(6) witness on topics regarding “[t]he
16 terms, negotiation of, and business rationale for any in-license or out-license of
17 intellectual property relating to CAR-T technology or any other technology
18 [allegedly] comparable to the ’190 patent.” Ex. 3 (Dulac Dep.) at 277:24–278:9.
19 When asked if he was aware of any such license, he responded that he was not. Id.
20 at 278:8–280:4 (answering “[s]ince the acquisition, I’m not aware of licensing any
21 comparable technology” and, upon follow-up, “I wouldn’t add anything in addition
22 to the response”). He never testified regarding the Celgene Agreement or the
23 Celgene Javelin Workbook. He cannot do so for the first time at trial, less do so in
24 the 10 minutes that Plaintiffs have allotted for his direct examination. ECF No. 475
25 at 4.
26         Dr. Sullivan also did not rely on these figures as comparable terms. He
27 briefly summarized the terms of the Celgene Agreement among a summary of
28 dozens of other produced licenses in Attachment B-1 to his report. See ECF No.
                                            -5-
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 1 311-1 at Attach. B-1 ¶ 137–38. However, he did not perform any expert analysis of
 2 the agreement to support his reasonable royalties. In fact, he expressly rejected the
 3 idea that the Celgene Agreement was a comparable agreement, saying “[n]one of
 4 the agreements produced in this case contain directly analogous economic
 5 conditions as those present at the hypothetical negotiation.” Id. ¶ 189 (emphasis
 6 added). He even said that “any agreement produced in this case that is used to
 7 estimate reasonable royalties would require significant adjustments to account for
 8 the economic conditions present at the hypothetical negotiation,” and offered no
 9 such adjustment with respect to the Celgene Agreement. Id. ¶ 190. And as to the
10 Celgene Javelin Workbook, Dr. Sullivan has offered no admissible opinions. 1
11 Similarly, Kite’s expert Dr. Rao has not opined that the Celgene Agreement would
12 be a comparable license and did not rely on the Celgene Javelin Workbook for his
13 opinions on a reasonable royalty.
14         Accordingly, Plaintiffs new damages theory attempts to circumvent
15 established case law barring the use of non-comparable licensing terms to establish a
16 reasonable royalty.
17         D.     The Court Should Not Allow Plaintiffs’ End Run Around Its
                  Damages-Related Order to Mislead and Confuse the Jury.
18
           Finally, the jury will have no compass to navigate these large, misleading
19
     numbers. That is exactly what Plaintiffs hope will lead them to consider awarding a
20
     high damages number, perhaps even approaching Dr. Sullivan’s initially proposed
21
     reasonable royalty of well over $1 billion. The Court should not allow such
22
     misleading and confusion evidence. The Federal Circuit has held that a “damages
23
     award cannot stand solely on evidence which amounts to little more than a recitation
24
     of royalty numbers, one of which is arguably in the ballpark of the jury’s award,
25
     particularly when it is doubtful that the technology of those license agreements is in
26
     1
27     His only reliance on the Workbook was to calculate loss in company value, which
     the Court excluded in its December 3 Order. See ECF No. 311-1 ¶¶ 266–83.
28
                                               -6-
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 1 any way similar to the technology being litigated here.” Lucent Technologies, Inc.
 2 v. Gateway, Inc., 580 F.3d 1301, 1329 (Fed. Cir. 2009). Plaintiffs’ new approach is
 3 thus not only unduly prejudicial but also would be the basis for clear error.
 4        The jury will hear about 10 minutes of direct examination testimony from Mr.
 5 Dulac about misleading and highly prejudicial real or actual licensing figures that
 6 the experts do not dispute are irrelevant. There simply is not enough time to cross-
 7 examine Mr. Dulac for the first time on these new areas of his testimony. Jurors
 8 should not be left to their own devices as to how to interpret the figures Plaintiffs are
 9 trying to introduce through Mr. Dulac, which is what would happen as Dr. Sullivan
10 has no admissible testimony to support those figures.
11 III.   CONCLUSION
12        For the foregoing reasons, Kite respectfully requests that Plaintiffs should not
13 be permitted to offer at trial the testimony of Mr. Dulac regarding actual or
14 projected licensing figures that are not from comparable licenses, or use PX0646,
15 PX0693, or document reflecting such licensing figures.
16
17 DATED: December 5, 2019               MUNGER, TOLLES & OLSON LLP
18
19                                       By:        /s/ Ted Dane
20                                           Ted Dane
                                         Attorneys for Defendant-Counterclaimant
21                                       KITE PHARMA, INC.
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